             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                 CIVIL CASE NO. 1:12-cv-00343-MR
             (CRIMINAL CASE NO. 1:06-cr-00268-MR-2)


RANDALL DEQUAN MCDANIEL, )
                           )
              Petitioner,  )
                           )
vs.                        )                   MEMORANDUM OF
                           )                   DECISION AND ORDER
UNITED STATES OF AMERICA, )
                           )
              Respondent.  )
__________________________ )

      THIS MATTER is before the Court on Petitioner’s Motion to Vacate,

Set Aside or Correct Sentence under 28 U.S.C. § 2255 or, alternatively,

under 28 U.S.C. § 2241, or on a Motion for a Writ of Coram Nobis or a Writ

of Audita Querela [Doc. 3], and The Government’s Response to the Motion

to Vacate [Doc. 4].    Petitioner is represented by Ann L. Hester of the

Federal Defenders of Western North Carolina.

I.    FACTUAL BACKGROUND

      On March 5, 2007, Petitioner pleaded guilty pursuant to a written plea

agreement to possession of a firearm by a convicted felon, in violation of 18

U.S.C. § 922(g). [Criminal Case No. 1:06-cr-00268-MR-2, Doc. 22: Plea

Agreement; Doc. 26: Amended Plea Agreement]. That was the sole count



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in the indictment pertaining to the Petitioner. [Id., Doc. 1: Indictment, Doc.

36: Judgment].       Prior to sentencing, the probation officer completed a

Presentence Report (“PSR”), in which the probation officer summarized

Petitioner’s    criminal    history,    including    his   numerous       prior   felony

convictions.1     Of the felony convictions reported by the probation officer,

none of the offenses was punishable by a term of incarceration exceeding

one year.2 [Doc. 2-1 at 9-16: PSR]. On October 3, 2007, this Court

sentenced Petitioner to 120 months’ imprisonment and two years of

supervised release.        [Criminal Case No. 1:06-cr-00268-MR-2, Doc. 36:

Judgment]. The Court entered judgment on October 15, 2007.3 [Id.].

      Petitioner did not appeal, but on October 30, 2012, he filed the instant

petition. In the petition, Petitioner alleges that he is entitled to relief in light

of the Fourth Circuit’s en banc decision in United States v. Simmons, 649


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   The PSR is not filed in the docket in Petitioner’s criminal case, and neither the
Petitioner nor the Respondent has placed the PSR before the Court in this matter. The
Court, however, has retrieved the PSR from the files of the United States Probation
Office and takes judicial notice of its contents. The Petitioner would have been better
served, however, if the parties had presented the Court with the documents supporting
their contentions.
2
    Petitioner does, however, attach to his Petition his state court judgments reflecting
that none of the felony conviction set out in the PSR qualify as Simmons felonies. This,
interestingly, leaves Petitioner in the very unusual position of having a Criminal History
Category of VI, the highest Criminal History Category, even though he has no qualifying
felony convictions.
3
   The Judgment was entered by United States District Judge Lacy H. Thornburg.
Upon Judge Thornburg’s retirement, this proceeding was assigned to the undersigned.
                                            2

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F.3d 237 (4th Cir. 2011), because the state court felonies used to obtain

the Section 922(g)(1) conviction were not punishable by a sentence of

more than one year.4 Petitioner contends that the Court should therefore

vacate his conviction and dismiss the indictment. In its Response, filed on

January 9, 2013, the Government agrees that Petitioner is actually innocent

of the Section 922(g) conviction he now challenges, the Government

waives the statute of limitations, and the Government asserts that it agrees

that the Court should vacate Petitioner’s conviction.5

      On August 21, 2013, the United States Court of Appeals for the

Fourth Circuit issued its decision in Miller v. United States, No. 13-6254,

2013 WL 4441547 (4th Cir. Aug. 21, 2013), in which it adopted the position

espoused herein by the Petitioner that Simmons is retroactive in cases of

actual innocence that are on collateral review.                  This matter was in

abeyance pending that ruling.

4
  In Simmons, the Fourth Circuit held that, in order for a prior felony conviction to serve
as a predicate offense [for either a crime of violence or a controlled substance offense],
the individual defendant must have been convicted of an offense for which that
defendant could be sentenced to a term exceeding one year. Simmons, 649 F.3d at
243 (emphasis added). In reaching this holding, the Simmons Court expressly
overruled United States v. Harp, 406 F.3d 242 (4th Cir. 2005), which had held that in
determining “whether a conviction is for a crime punishable by a prison term exceeding
one year [under North Carolina law] we consider the maximum aggravated sentence
that could be imposed for that crime upon a defendant with the worst possible criminal
history.” Id. (quoting Harp, 406 F.3d at 246) (emphasis omitted).
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  Although the Government does not state as such in its Response, the Government
has obviously also foregone or forgiven the Petitioner’s waiver in his plea agreement to
any right to collaterally challenge his conviction.
                                            3

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II.     STANDARD OF REVIEW

        Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine motions

to vacate, along with “any attached exhibits and the record of prior

proceedings” in order to determine whether a petitioner is entitled to any

relief. After having considered the record in this matter, and because the

Government concedes that Petitioner is entitled to relief, the Court finds

that this matter can be resolved without an evidentiary hearing.                See

Raines v. United States, 423 F.2d 526, 529 (4th Cir. 1970).

III.      DISCUSSION

        Here, is undisputed that the petition is untimely, as it was filed five

years after Petitioner’s conviction became final. A Section 2255 claim not

brought within one year of the date on which a conviction has become final

under Section 2255(f) is procedurally barred. A procedural bar, however,

may be excused where the petitioner demonstrates “cause and prejudice,”

or “actual innocence.” Bousley v. United States, 523 U.S. 614, 622 (1998).

        In its Response, the Government concedes that Petitioner is actually

innocent of the felon-in-possession conviction, and the Government has

expressly waived the one-year limitation period. The Supreme Court held

in Day v. McDonough, 547 U.S. 198, 205, 209, 211 n.11 (2006), that where


                                        4

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the government intelligently chooses to waive a statute of limitations

defense, a district court is not at liberty to disregard that choice. Although

Day involved a state habeas petition, this Court finds that where the

government intelligently waives the one-year limitations period in the

context of a motion under Section 2255, the logic of Day would direct that

this Court is not at liberty to disregard that waiver. Because Respondent

has expressly waived the one-year limitations period, Petitioner’s

entitlement to relief is dependent on whether he has shown himself to be

actually innocent in light of Miller and Simmons. If he is actually innocent

the Motion may be addressed and relief may be granted; if he is not

actually innocent then his Motion is time barred under Bousley.

       Since none of Petitioner’s prior convictions were punishable by

incarceration for a term in excess of one year, Petitioner was not a felon for

the purposes of §922(g). This being a necessary element of that crime,

Petitioner is actually innocent. Therefore the Court will grant the Motion to

Vacate.

IV.    CONCLUSION

       In sum, for the reasons stated herein, the Court grants Petitioner’s

motion to vacate.

       IT IS THEREFORE ORDERED that:


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(1)          Petitioner’s Motion to Vacate [Doc. 1] is GRANTED and

             Petitioner’s conviction is hereby VACATED;

(2)          Inasmuch as Petitioner’s conviction has been vacated, his

             sentence is also VACATED, and he is ORDERED released

             from the custody of the United States Bureau of Prisons and/or

             the custody of the U.S. Marshals Service and/or any conditions

             of supervised release/bond imposed in this matter;

(3)          To allow the Bureau of Prisons, United States Marshal and

             Pretrial Services adequate time, such are allowed up to ten

             days to comply with this order.

(4)          The Clerk of Court will certify copies of this Order to the U.S.

             Bureau of Prisons, U.S. Marshals Service, and the U.S.

             Probation and Pretrial Services Office.

       IT IS SO ORDERED.                   Signed: September 13, 2013




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